      Case 3:18-cr-00623-S Document 6 Filed 12/18/18                     Page 1 of 1 PageID 37
                            IN THE UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF TEXAS
                                      DALLAS DIVISION

                                                       )
USA                                                    )
        Plaintiff,                                     )
                                                       )
v.                                                     )     Case Number: 3:18−cr−00623−S *SEALED*
                                                       )
Richard Hall                                           )
       Defendant.                                      )


                                 ORDER OF TEMPORARY COMMITMENT

On this date the defendant made an initial appearance after having been arrested in this district for an offense
against the laws of the United States.

The government moved for a hearing to determine whether any condition or combination of conditions will
reasonably assure the defendant's appearances and the safety of any other person and the community
(18 U.S.C. § 3142(f), as amended P.L. 98−473, 98 Stat. 1873).

Counsel for the government moved for a continuance of such hearing.

IT IS, THEREFORE, ORDERED that the hearing is to be held on 12/19/2018 at 02:00 PM before Magistrate
Judge Irma Carrillo Ramirez, unless extended for good cause.*

IT IS FURTHER ORDERED that the defendant is committed to the custody of the United States Marshal for
confinement in a corrections facility separate, to the extent practicable, from persons awaiting or serving
sentences or being held in custody pending appeal, pending the above scheduled detention hearing.

A copy of this order shall be transmitted to counsel for the parties.

SIGNED 12/18/2018.




                                                             Irma Carrillo Ramirez
                                                             Magistrate Judge


* A continuance on behalf of the government will be granted without a hearing only upon the written consent of
the Defendant or his attorney. A continuance on behalf of the Defendant will be granted without a hearing upon
the written request of the Defendant or his attorney. Continuances shall not exceed five work days from the
original setting for the Detention Hearing.
